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                Exhibit 1
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                                                                         E-FILED
                                                                         7/20/2020 2:38 PM
 1   ANDREWS. MACKAY, #197074                                            Clerk of Court
     amackay@donahue.com                                                 Superior Court of CA,
 2   PADMINI CHERUVU, #301292                                            County of Santa Clara
     pcheruvu@donahue.com                                                20CV368535
 3   DONAHUE FITZGERALD LLP
     Attorneys at Law                                                    Reviewed By: L Del Mundo
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     Oakland, California 94612-3520
 5
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 7
     Attorneys for Plaintiff
 8   JINJU ZHANG

 9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                      FOR THE COUNTY OF SANTA CLARA
11
                                          UNLIMITED JURISDICTION
12

13                                                                      20CV368535
      JINJU ZHANG, an individual;                         Case No.
14
                         Plaintiff,                       COMPLAINT FOR DIRECT AND
15                                                        DERIVATIVE CLAIMS FOR:
             V.
16                                                       1.    Breach of Fiduciary Duty
      BENLIN YUAN, an individual; HONG                   2.    Unfair Competition
17    LIN, an individual; CAMIWELL INC., a               3.    Violation of Corporations Code
      California corporation; and DOES 1 to 10,                §§ 1601 and 1602
18    inclusive,                                          4.   Accounting

19                       Defendants.                      DEMAND FOR JURY TRIAL

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                                        COMPLAINT AND DEMAND FOR JURY TRIAL                     CASE No.:
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 1                                                COMPLAINT

 2          Plaintiff Jinju Zhang ("Zhang") states and alleged on behalf of himself and derivatively on

 3   behalf of Camiwell, Inc. as follows for his Complaint against Defendants Benlin Yuan, an

4    individual ("Yuan"), Hong Lin, an individual ("Lin"), Camiwell Inc., a California corporation

 5   ("Camiwell, Inc."), and Does 1 to 10, inclusive (the "Does" and together with Yuan, Lin, and

 6   Camiwell, Inc., "Defendants"):

 7                                                THE PARTIES

 8           1.     Zhang is, and at all times relevant to this action has been, an individual residing

 9   and conducting business in Santa Clara County, California. Zhang currently owns at least 35% of

10   the shares of Camiwell, Inc.

11          2.      Zhang is informed and believes, and based thereon alleges, that Yuan is, and at all

12   times relevant to this action has been, an individual residing in Mississauga, Canada and

13   conducting business in Santa Clara County, California. Yuan currently owns at most 40% of the

14   shares of Camiwell, Inc. and, together with his wife Lin, controls 65% of Camiwell, Inc.

15          3.      Zhang is informed and believes, and based thereon alleges, that Lin is, and at all

16   times relevant to this action has been, an individual residing in Mississauga, Canada and

17   conducting business in Santa Clara County, California. Lin currently owns at most 25% of the

18   shares of Camiwell, Inc. and, together with her husband Yuan, controls 65% ofCamiwell, Inc.

19          4.      Zhang is informed and believes, and based thereon alleges, that Camiwell, Inc. is,

20   and at all times relevant to this action has been, a corporation organized and existing under the

21   laws of California and conducting business in Santa Clara County, California, with its principal

22   office located in Santa Clara, California.

23          5.      The Does are sued herein under fictitious names, and their true names and

24   capacities are unknown to Zhang. When the Does' true names and capacities are ascertained,

25   Zhang will amend this complaint by inserting their true names and capacities herein.

26          6.      Zhang is informed and believe, and based thereon alleges, that each of the Does is

27   responsible in some manner for the occurrences herein alleged and that Zhang's damages as

28   herein alleged were proximately caused by such Defendants.
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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          7.      Zhang is informed and believes, and based thereon alleges, that at all material

 2   times each of the Defendants, or some of them, were the agent, servant, and/ or employee of the

 3   other Defendants and, in doing the things hereinafter mentioned, was acting within the scope of

 4   that Defendant's authority as such an agent, servant, and/or employee and with the permission and

 5   consent of the other Defendants.

 6                                      JURISDICTION AND VENUE

 7          8.      This Court has jurisdiction over all causes of action asserted in this Complaint

 8   pursuant to the California Constitution, Article VI.

 9          9.      This Court has exclusive jurisdiction over the claims asserted and each of the

10   Defendants because each is an individual or corporation that is either based in, authorized or

11   registered to conduct, or in fact do conduct, substantial business in the State of California. Each of

12   the Defendants has sufficient minimum contacts with California, or otherwise intentionally avails

13   themselves of the markets within California, through collecting monies, entering into contracts

14   and/or delivering services in California thereby rendering the exercise of jurisdiction by the

15   California courts.

16           10.    Venue is proper in the Santa Clara County because Camiwell Inc.' s principal place

17   of business is in Santa Clara County and Yuan and Lin do business through Camiwell, Inc. in

18   Santa Clara County. Most if not all of the material events in this matter relate to Defendants'

19   actions which occurred substantially in Santa Clara County.

20           11.    The amount in controversy exceeds the jurisdictional minimum of this Court.

21                                            BACKGROUND

22           12.    Camiwell, Inc., formerly Camiwell, LLC, is an information technology company

23   based in Santa Clara, California and operated by Zhang and his wife. The officers are Zhang,

24   Yuan, and Hui Sun ("Sun"). The directors and shareholders are Zhang, Yuan, and Lin. Yuan is a

25   40% shareholder, Zhang is a 35% shareholder, and Lin is a 25% shareholder. Lin and Yuan are

26   married and therefore control 65% of Camiwell, Inc. together.

27           13.    On or about September 16, 2014, Yuan organized Camiwell, LLC as a Delaware

28   limited liability company. On September 19, 2014, Camiwell, LLC was also registered as a
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 1   foreign limited liability company doing business in California. Camiwell, LLC was later

 2   converted to a corporation in California on June 8, 2018.

 3          14.     Camiwell, Inc. has also been registered to engage in business as a corporation in

4    Virginia.

 5          15.     Camiwell Inc. has a related entity, Camiwell Inc., that is located in Mississauga,

 6   Ontario, Canada ("Camiwell Canada"). Camiwell Canada was incorporated by Yuan in Ontario in

 7   December 2013. Camiwell Canada is owned exclusively by Yuan and Lin.

 8          16.     Camiwell, Inc. and Camiwell Canada are related as they perform the same

 9   business services, share the same website, have substantially the same customers, and share the

10   same ownership (other than Zhang, who is only a shareholder of Camiwell, Inc.). Additionally,

11   Plaintiff believes that Camiwell, Inc. and Camiwell Canada utilize the same or substantially

12   similar employees.

13          17.     Until the end of 2018, Camiwell Inc.'s mam customer was Beijing Asiacom

14   Technology Co. Ltd. ("Asiacom"), which is a contractor for large Chinese technology companies.

15   Asiacom would subcontract their IT work to Camiwell, Inc., amounting to about 95% of

16   Camiwell Inc.'s business. Zhang believes that Yuan and/or his brother hold an ownership interest

17   in Asiacom.

18          18.     Beginning in 2018, Yuan began negotiating with Asiacom regarding Asiacom's

19   acquisition of Camiwell, Inc. Zhang did not become aware of this until around April or May

20   2018. Zhang and Yuan were ultimately unable to agree to the terms of the acquisition and the

21   acquisition fell through towards the end of 2018. After the acquisition fell through, Beijing

22   Asiacom entered the Canadian and US markets by merging with Camiwell Canada and creating

23   and operating Asiacom Americas Inc. in the United States ("Asiacom US"). Zhang believes that

24   Yuan and/or his brother have an equity interest in Asiacom US.

25          19.     Around the same time that Asiacom US entered the Canadian and US markets,

26   Yuan began pushing Zhang to dissolve Camiwell, Inc. Zhang was suspicious of the dissolution

27   because he believed Yuan and Lin may be attempting to cut Zhang out of Camiwell, Inc. and

28   transfer all of Camiwell, Inc.' s assets and business to Asiacom US, a company in which Zhang
                                                    -3-
                                   COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   does not own an interest as outlined below, thereby depriving Zhang of money to which he would

 2   be entitled as a shareholder.

 3          20.     Zhang believes that, since the acquisition with Asiacom fell through, Yuan and Lin

 4   have been transferring Camiwell Inc.' s assets, including but not limited to, money, employees,

 5   the lease for Camiwell Inc.' s office, and equipment, to Asiacom or Asiacom US, either directly or

 6   through Camiwell Canada, for little or no consideration, and without Board of Director approval.

 7   For example, on July 31, 2018, Yuan transferred $92,000 from Camiwell, Inc. to Camiwell

 8   Canada without any justification or explanation for the transfer. When Zhang asked about the

 9   transfer, Yuan stated that it was for expenses, but did not provide a list of specific expenses or

10   proof of those expenses. Additionally, in January 2019, Camiwell, Inc.' s employees were

11   transferred to Asiacom or Asiacom US. On or about May 15, 2019, Yuan attempted to transfer

12   monies from the Camiwell, Inc. bank account to a third-party Hong Kong account without

13   permission or business purpose, and in July 2019, Camiwell Inc.' s lease for office space was

14   transferred to Asiacom or Asiacom US. As a result, at the end of 2018, Asiacom/Asiacom US

15   informed Zhang that it would no longer need Camiwell, Inc.'s services, effectively forcing

16   Camiwell, Inc. out of business.

17          21.     In 2017, 2018, and 2019, Yuan provided financial information to the accountant to

18   file the company's tax returns. The numbers listed in the tax returns appear to be fraudulent and

19   Zhang never received financial documentation to support those numbers. For example, in 2018,

20   there are subcontractor costs of $300,000 USD to Canada on the Camiwell, Inc. balance sheet

21   without any back up information ever provided to Zhang. In 2019, Camiwell, Inc. was essentially

22   not conducting any business related activities, but reported revenue increased while expenses

23   remained similar to 2018.

24          22.     Due to Yuan's request to dissolve Camiwell, Inc. and Zhang's belief that Yuan and

25   Lin were transferring assets to Asiacom or Asiacom US, Zhang requested that Defendants

26   produce certain corporate documents for Zhang' s review so that he could confirm the accuracy of

27   the financial information that Yuan was providing to Zhang. Defendants refused to produce the

28   requested documents.
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                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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 1             23.   In December 2018, Zhang hired an attorney, Stephen Lou of Lou Lawyers, to help

 2   advise them about the possible dissolution of Camiwell, Inc. Mr. Lou sent multiple demand letters

 3   to Defendants requesting that Defendants produce documents that Zhang, as a director and

 4   shareholder, had a right to review. Defendants refused to produce the requested documents.

 5             24.   On February 26, 2020, after multiple requests for documents over more than one

 6   year, Defendants produced certain documents. On March 23, 2020, Zhang's attorney sent a letter

 7   to Defendants' attorney outlining the documents that were missing from the February 26, 2020

 8   production. On March 27, 2020, Defendants' attorneys sent a letter refusing to produce additional

 9   documents as Defendants believed the requested documents were beyond the scope of

10   information that a shareholder is entitled to inspect under California Corporations Code section

11   213, 1501, 1600, and 1603. To date, Defendants have failed to produce all of the documents

12   requested by Zhang to which he is entitled to inspect based on his rights as a director and

13   shareholder of Camiwell, Inc.

14             25.   Due to Defendants' refusal to allow Zhang to review Camiwell, Inc.' s books and

15   records, Zhang cannot determine (1) the assets transferred from Camiwell, Inc. to Camiwell

16   Canada, Asiacom, or Asiacom US; (2) the accuracy of the financial information that has been

17   provided to them by Defendants; and (3) any outstanding money owed to and withheld from

18   Zhang.

19             26.   Besides his formal demands to view Camiwell, Inc.' s books and records, Zhang

20   has not made any formal demands on Camiwell, Inc.' s Board of Directors to investigate and

21   prosecute the wrongdoings alleged herein because making a demand would be futile. The Board

22   of Directors consists of three people, with two being defendants and the third being Zhang.

23   Moreover, Yuan and Lin own 65% of the shares of stock in the Camiwell, Inc. with the other 35%

24   owned by Zhang.

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                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                     FIRST CAUSE OF ACTION

 2                            Derivative Claim for Breach of Fiduciary Duty

 3                        (Against Defendants Yuan, Lin, and Does 1 through 10)

 4             27.   Zhang restates and incorporates herein by this reference each and all of the

 5   allegations contained in the preceding paragraphs as though fully set forth herein.

 6             28.   Yuan, as an owner, officer, director, and shareholder of Camiwell, Inc., Lin, as a

 7   director and a shareholder of Camiwell, Inc., and Yuan and Lin as majority shareholders of

 8   Camiwell, Inc., owe fiduciary duties to Camiwell, Inc. and its shareholders, including Zhang.

 9             29.   Zhang is informed and believes, and based thereon alleges that Yuan and Lin

10   breached their fiduciary duties to Camiwell, Inc. and its shareholders, including Zhang, through

11   the actions alleged above, which include, but are not limited to, transferring Camiwell, Inc. assets

12   and business to Asiacom US, a company in which Zhang does not own an interest, while

13   attempting to dissolve Camiwell, Inc., thereby harming Camiwell, Inc. and depriving Zhang of

14   money to which he would be entitled as a shareholder.

15             30.   As a direct and proximate result of the breach of fiduciary duty committed by

16   Yuan and Lin, Camiwell has been damaged in an amount to be proven at trial.

17             31.   The aforementioned conduct was undertaken by Yuan and Lin with the intent to

18   deprive Camiwell, Inc. of its legal rights or property or to otherwise cause injury. Yuan and Lin's

19   acts constitute oppressive and malicious conduct, thereby justifying an award of exemplary and

20   punitive damages in an amount to be determined at trial.

21             WHEREFORE, Zhang prays for judgment as hereinafter set forth.

22                                   SECOND CAUSE OF ACTION

23                               Derivative Claim for Unfair Competition

24                        (Against Defendants Yuan, Lin, and Does 1 through 10)

25             32.   Zhang restates and incorporates herein by this reference each and all of the

26   allegations contained in the preceding paragraphs as though fully set forth herein.

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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          33.     California Business and Professions Code, section 17200 explains that "unfair

 2   competition shall mean and include any unlawful, unfair or fraudulent business act or practice and

 3   unfair, deceptive, untrue or misleading advertising."

 4          34.     Zhang is informed and believes, and based thereon alleges, after Asiacom's

 5   acquisition of Camiwell, Inc. fell through, Yuan and Lin began engaging in intentional acts in

 6   order to effectively put Camiwell, Inc. out of business to the detriment of Camiwell, Inc. and its

 7   shareholders, including Zhang. Such acts include, but are not limited to (1) transferring Camiwell,

 8   Inc.'s assets and work to Asiacom or Asiacom US, either directly or through Camiwell Canada;

 9   and (2) attempting to dissolve Camiwell, Inc.

10          35.     Yuan's and Lin's actions are unlawful, unfair, and fraudulent, and thus amount to

11   a violation of Business and Professions Code Section 17200.

12          36.     As a direct and proximate result of Yuan's and Lin's conduct, Yuan and Lin have

13   been unjustly enriched at the expense of Camiwell, Inc. and its shareholders.

14          WHEREFORE, Zhang prays for judgment as hereinafter set forth.

15                                     THIRD CAUSE OF ACTION

16                 Direct Claim for Violation of Corporations Code§§ 1601 and 1602

17                           (Against Camiwell, Inc. and Does 1 through 10)

18          37.     Zhang restates and incorporates herein by this reference each and all of the

19   allegations contained in the preceding paragraphs as though fully set forth herein.

20          38.     California Corporations Code section 1601 allows a shareholder, upon written

21   demand on the corporation, to inspect the accounting books and records of the corporation, and

22   the minutes of proceedings of the shareholders and the board and committees of the boards of the

23   corporation in which he or she is a shareholder.

24          39.     California Corporations Code section 1603 provides directors with the "the

25   absolute right at any reasonable time to inspect and copy all books, records and documents of

26   every kind and to inspect the physical properties of the corporation of which such person is a

27   director and also of its subsidiary corporations, domestic or foreign."

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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1            40.   Zhang has made repeated written demands on Camiwell, Inc. to make available for

 2   inspections all of its books, records, and documents to that which he is entitled to inspect as a

 3   shareholder and director of Camiwell, Inc.

 4            41.    Such documents related to (1) the assets transferred from Camiwell, Inc. to

 5   Asiacom or Asiacom US; (2) the accuracy of the financial information that has been provided to

 6   them; and (3) any outstanding money, including any shareholder distributions, owed to and

 7   withheld from Zhang.

 8            42.   Despite the reasonable request for information, Camiwell, Inc. has refused to

 9   produce all of the requested documents to which Zhang is entitled to inspect, instead stating that

10   some of the documents are outside the scope of information that Zhang is entitled to inspect under

11   California Corporations Code section 213, 1501, 1600, and 1603.

12            43.   Zhang is informed and believes that, unless enjoined by order of the Court,

13   Camiwell, Inc. will continue to withhold material documents and information from Zhang. No

14   adequate remedy exists at law for the injuries alleged herein, and Zhang will suffer great and

15   irreparable injury if the wrongful conduct is not immediately enjoined and restrained.

16            44.   Pursuant to California Corporations Code section 1603(a), Zhang is entitled to an

17   order from the Court requiring Camiwell, Inc. to produce its books and records for inspection by

18   Zhang.

19            45.   Zhang is entitled to an award of costs and reasonable attorneys' fees under

20   California Corporations Code section 1604.

21            WHEREFORE, Zhang prays for judgment as hereinafter set forth.

22                                   FOURTH CAUSE OF ACTION

23                                     Direct Claim for Accounting

24                           (Against Camiwell, Inc. and Does 1 through 10)

25            46.   Zhang restates and incorporates herein by this reference each and all of the

26   allegations contained in the preceding paragraphs as though fully set forth herein.

27            47.   Zhang is a current shareholder of Camiwell, Inc., and as such, 1s entitled to

28   shareholder distributions from Camiwell, Inc.
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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          48.     Zhang is a current director of Camiwell, Inc. and, as such, is entitled for

 2   documents confirming the accuracy of the financial information provided to him by Defendants.

 3          49.     Camiwell, Inc. and Yuan and Lin, individually as owners, directors, officers,

 4   and/or shareholders of Camiwell, Inc., owe fiduciary duties of care towards Camiwell, Inc. 's

 5   shareholders, including Zhang.

 6          50.     Yuan and Lin have transferred assets, including money, to Camiwell Canada,

 7   Asiacom, and/or Asiacom US without Zhang's consent and without any justification, with the

 8   intention of putting Camiwell, Inc. out of business.

 9          51.     The amount of money due from Camiwell, Inc. to Zhang or withheld by Cami well,

10   Inc. is unknown to Zhang and cannot be ascertained without an accounting of Camiwell, Inc.' s

11   receipts and disbursements of the aforementioned operations.

12          52.     Zhang has made repeated demands that Camiwell, Inc. account for the

13   aforementioned transfers and pay any amount found due to Zhang, but Camiwell, Inc. has failed

14   and refused, and continues to fail and refuse, to render the accounting and pay Zhang.

15          WHEREFORE, Zhang prays for judgment as hereinafter set forth.

16                                               PRAYER

17          Now, therefore, Zhang prays for relief as follows:

18   On the First Cause of Action

19          1.      For compensatory damages in an amount to be proven at trial;

20          2.      For exemplary and punitive damages;

21          3.      For reasonable attorneys' fees and costs to the extent permissible under applicable

22   law; and

23          4.      For such other and further relief as this court may deem just and proper.

24   On the Second Cause of Action

25          1.      For a temporary restraining order, a preliminary injunction, and a permanent

26   injunction, requiring that Yuan and Lin, their successors, agents, representatives, employees, and

27   all persons, corporations and other entities acting by, through, under, or on behalf of Yuan and

28   Lin, or acting in concert or participation with them, be permanently enjoined from directly or
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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   indirectly committing any violations of Business and Professions Code Section 17200 et seq.,

 2   including but not limited to, the violations alleged in this Complaint;

 3          2.      For compensatory damages in an amount to be proven at trial;

 4          3.      For costs of suit incurred herein.

 5          4.      For such other and further relief as this Court may deem just and proper

 6   On the Third Cause of Action

 7           1.     For an order compelling Camiwell, Inc. to produce for inspection all books,

 8   records, and documents authorized by California Corporations Code sections 1601 and 1602;

 9          2.      For Zhang's attorneys' fees pursuant to Corporations Code section 1604;

10          3.      For Zhang's costs of suit incurred herein pursuant to Corporations Code section

11   1604;and

12          4.      For such other and further relief as this court may deem just and proper.

13   On the Fourth Cause of Action

14           1.     For an accounting between Camiwell, Inc. and Zhang;

15          2.      For payment over to Zhang of the amount due from Camiwell, Inc. as a result of

16   the account;

17          3.      For Zhang's attorneys' fees;

18          4.      For costs of suit incurred herein; and

19          5.      For such other and further relief as this court may deem just and proper.

20   Dated: July 20, 2020                      DONAHUE FITZGERALD LLP
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                                               By:_______________                                _
                                                  Andrew S. MacKay
23                                                Padmini Cheruvu
                                                  Attorneys for Plaintiff JINJU ZHANG
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                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                    DEMAND FOR JURY TRIAL

 2          Plaintiff Jinju Zhang demands a jury trial on all issues triable by right of jury.

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     Dated: July 20, 2020                       DONAHUE FITZGERALD LLP
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 5                                                  ~~e
                                                By:_______________                               _
 6                                                 Andrew S. MacKay
                                                   Padmini Cheruvu
 7                                                 Attorneys for Plaintiff JINJU ZHANG
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